                    IN THE UNITED STATES DISTRICT COURT FOR
                        THE WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION

 SUZANNE STEINBACH,                                )
                                                   )
                Plaintiff,                         )
                                                   )
        v.                                         ) Case No. 19-04176-CV-C-NKL
                                                   )
 MAXION WHEELS SEDALIA LLC,                        )
                                                   )
                Defendant.                         )


                         CERTIFICATE OF SERVICE OF
               PLAINTIFF’S DISCOVERY REQUESTS TO DEFENDANT


       I hereby certify that a true and correct copy of Plaintiff’s First Interrogatories to Maxion

Wheels Sedalia LLC and Plaintiff’s First Request for Production to Maxion Wheels Sedalia LLC

were served via email on the 10th day of January, 2020, via email to J. Randall Coffey,

rcoffey@fisherphillips.com, and to Samantha J. Monsees, smonsees@fisherphillips.com, and

were sent to be mailed via First-Class U.S. Mail to Mr. Coffey and to Ms. Monsees at Fisher &

Phillips LLP, 4900 Main Street, Suite 650, Kansas City, MO 64112.



                                                      Respectfully submitted,

                                                       /s/ Kirk Rahm
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                                                      ATTORNEYS FOR PLAINTIFF



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                                     Certificate of Service

       I hereby certify that on the 10th day of January 2020, the foregoing was emailed to
counsel for Defendant.

                                                     Respectfully submitted

                                                            /s/ Kirk Rahm
                                                     Attorneys for Plaintiff




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